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IN THE UNITED STATES DISTRICT COURT ,
FOR THE WESTERN DISTRICT OF TENNESSEE - _
WESTERN DIVISION 05`““"9 FH 3'hh

 

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KEVIN MILLEN,
Plaintiff,

vs. No. 05-2070-Ml/An

WENDY ’ S RESTAUR.AN‘I‘,

Defendant.

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ORDER DENYING SECOND MOTION FOR RECONSIDERATION
AND
FINAL ORDER DIRECTING PLAINTIFF TO PAY THE CIVIL FILING FEE

 

Plaintiff Kevin Millen filed a ppg §§ complaint on the
form used for commencing actions pursuant to 42 U.S.C. § 1983 on
January 27, 2005, along with a motion seeking leave to proceed ip
fp;m§ pauperis. As the Plaintiff's motion to proceed ip fp;mg
pauperis contained no information concerning his monthly income,
assets, and financial obligations, the Court issued an order on
April 22, 2005, denying leave to proceed ip fp;mg pauperis and
directing the Plaintiff to pay the SlBO civil filing fee within
thirty days.

On April 28, 2005, Plaintiff submitted a document,
entitled “Motion to have In Forma Pauperis Status Granted,” which
the Court construed as a nmtion for reconsideration and, as so
construed, denied in an order issued on May l3, 2005, for the

following reasons:

Thts document entered on the docket sheet tn compliance
with Ru|e 58 andlor 79(e) FHCP on "

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In_his motion.for reconsideration, Plaintiff asserts
that he left every entry in the ip forma pauperis
affidavit blank because “[t]his entails I have nothing.”
As a preliminary matter, Plaintiff's motion for
reconsideration was not sworn to under penalty of
perjury, as required by 28 U.S.C. § 1915(a)(l), and,
therefore, it cannot be considered to be substantive
evidence of the Plaintiff’s financial condition. Flippin
v. Massey, 88 Fed. Appx. 896 (6th Cir. Jan. 29, 2004).

The Court has, spa sponte, considered whether the
blanks in the Plaintiff's original affidavit can. be
deemed to be affirmative representations that the
Plaintiff has no income, assets, or expenses. Although
such a construction Would perhaps be possible under some
circumstances, in this case the Plaintiff is not homeless
and he has a telephone. The Plaintiff’s two submissions
contain no information concerning the manner in.which the
Plaintiff obtains his shelter, telephone, food, clothing,
medical care, and other necessities. In the absence of
any affirmative representations about the Plaintiff's
financial condition, the Plaintiff has not satisfied his
obligations to demonstrate that he is unable to pay the
civil filing fee or to provide security therefor.
Accordingly, the motion for reconsideration is DENIED.
The Plaintiff is ORDERED to pay the civil filing fee
within thirty (30) days from the date of entry of this
order.

05/13/05 Order at 1-2.

On May 24, 2005, Plaintiff filed another motion, entitled
“Order Asking for Leave to Use In Forma Pauperis And Order
Directing Defendants to Pay Monetary funds [sic] Owed to
Plaintiff,” which the Court construes as a second motion seeking
reconsideration of the decision denying leave to proceed ip fp;ma
pauperis. Nothing in the Plaintiff’s most recent motion provides
any basis for reconsidering the Court's previous orders. In
particular, the most recent motion contains no financial
information demonstrating that the Plaintiff is unable to pay the

civil filing fee or give security therefor, as required by 28

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U.S.C. § 1914. The other factors cited by the Plaintiff, such as
the time and effort he is willing to put into the case and the uses
to which he would put any funds received in the event he prevails
on the merits, are not relevant to the question of whether the
Plaintiff is entitled to proceed ip fp;ma pauperis.

Accordingly, the Court DENIES the Plaintiff’s latest
motion for reconsideration. This decision is final. If the civil
filing fee is not paid by August 5, 2005, this action will be

dismissed, without prejudice, for failure to prosecute.

IT IS SO ORDERED this IQ day of July, 2005.

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JON PHIPPS MCCALLA
UN TED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
ease 2:05-CV-02070 Was distributed by faX, mail, or direct printing on
July 20, 2005 to the parties listed.

 

Kevin Millen
4104 Stillwood Dr.
Memphis7 TN 38128

Honorable Jon MeCalla
US DISTRICT COURT

